Case 2:05-md-01657-EEF-DEK Document 43709-1 Filed 06/04/10 Page 1 of1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® * MDL Docket No. 1657
Product Liability Litigation *
* SECTION L
This document relates to: *
*
Jose Acevedo, et al. * JUDGE FALLON
Vv. *
Merck & Co., Inc. * MAGISTRATE JUDGE KNOWLES
*
Only with regard to: *
Isabel Velez-Iglesias *
*
*
*

Docket No. 2:06-cv-06997

Be 2 oe ee oe 2 OR RK CE EK

ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Isabel Velez-Iglesias in the above-captioned
case be and they hereby are dismissed with prejudice with each party to bear his or her own
costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
